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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

LIGTEL COMMUNICATIONS, INC.,

              Plaintiff,

       v.                                          Case No. 1:20-cv-00037-HAB-SLC

BAICELLS TECHNOLOGIES INC.;
BAICELLS TECHNOLOGIES NORTH
AMERICA, INC.,

              Defendants.


                             BAICELLS TECHNOLOGIES INC.’S
                           CORPORATE DISCLOSURE STATEMENT
        Pursuant to Federal Rule of Civil Procedure 7.1(a), Defendant Baicells Technologies

Inc. provides the following Corporate Disclosure Statement:

        1.    The parent companies of the corporation:

              None.

        2.    Any publicly held company that owns ten percent (10%) or more of the
              corporation:

              None.


                                            Respectfully submitted,

                                            ICE MILLER LLP


                                           /s/ Adam Arceneaux
                                           Adam Arceneaux, Attorney No. 17219-49
                                           Eric J. McKeown, Attorney No. 27597-49
                                           Jessa DeGroote, Attorney No. 358487-49

                                           Attorneys for Defendants, Baicells Technologies
                                           Inc. and Baicells Technologies North America,
                                           Inc.
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                               CERTIFICATE OF SERVICE

       I certify that on February 12, 2020, I electronically served the foregoing document using
the Court’s E-Filing System (IEFS), upon counsel of record:



                                            /s/ Adam Arceneaux
                                            Adam Arceneaux

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